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                                                                       Dated: July 29th, 2022




                         IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
     In re:                                             )      Chapter 11
                                                        )
     Blackjewel, L.L.C., et al.,                        )      Case No. 19-30289
                                                        )
                            Debtors.1                   )      (Jointly Administered)

                     STIPULATION AND AGREED ORDER RESOLVING
                 PROOF OF CLAIM NO. 1182 FILED BY JEFFERY A. HOOPS, SR.

              David J. Beckman, in his capacity as the liquidation trustee (the “Trustee”) for the

 Blackjewel Liquidation Trust (the “Trust”), successor for certain purposes to the debtors and

 debtors-in-possession in the above-captioned chapter 11 cases (collectively, the “Debtors”) and

 Jeffery A. Hoops, Sr. (together with the Trust, the “Parties”) hereby enter into this agreed order

 (the “Order”) and agree as follows:




 1
   The former Debtors in these chapter 11 cases and the last four digits of each former Debtor’s former taxpayer
 identification number were as follows: Blackjewel, L.L.C. (0823); Blackjewel Holdings L.L.C. (4745);
 Revelation Energy Holdings, LLC (8795); Revelation Management Corporation (8908); Revelation Energy, LLC
 (4605); Dominion Coal Corporation (2957); Harold Keene Coal Co. LLC (6749); Vansant Coal Corporation
 (2785); Lone Mountain Processing, LLC (0457); Powell Mountain Energy, LLC (1024); and Cumber land River
 Coal LLC (2213). The mailing address for each of the former Debtors is located at 999 17th Street, Suite 700,
 Denver, Colorado 80202, Attn: David J. Beckman.
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        WHEREAS, on October 4, 2019, the Court entered the Order (I) Approving the Sale of

 Certain Assets to Eagle Specialty Materials, LLC Free and Clear of Liens, Claims, Encumbrances,

 and Other Interests, (II) Approving the Assumption and Assignment of Certain Executory

 Contracts and Unexpired Leases, and (III) Granting Related Relief (ECF No. 1187) (the

 “Riverstone Settlement Order”), which, inter alia, resolved Riverstone Partners – Direct, L.P.’s

 (“Riverstone”) proofs of claim against the estate by requiring the Debtors and ESM to pay to

 Riverstone “the total amount of $32 million in cash comprised of (a) $24 million in cash to be paid

 by ESM on the Effective Date and (b) $8 million in cash to be paid by the Debtors on the Effective

 Date[,]” and instructing Riverstone to “transfer into the registry of this Court amounts that would

 otherwise be distributable to Jeffery Hoops and/or any of his affiliates pending further direction

 by the Court or further Court order;”

        WHEREAS, on October 19, 2019, the Debtors and ESM deposited the “amounts that

 would otherwise be distributable to Jeffery Hoops and/or any of his affiliates” as stated in the

 Riverstone Settlement Order into the Court’s registry directly (the “Registry Funds”), instead of

 transferring such amounts to Riverstone and then Riverstone transmitting those amounts to the

 Court (ECF 1294);

        WHEREAS, on October 31, 2019, Jeffery Hoops filed proof of claim number 1182 against

 Blackjewel, L.L.C. (“Claim No. 1182”), which asserted a right to the Registry Funds;




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         WHEREAS, the Parties have determined that it is in their respective best interests to

 resolve all matters relating to Claim No. 1182 consensually and without resorting to additional

 litigation;

         NOW, THEREFORE, the Parties hereby stipulate and agree, subject to Court approval, as

 follows:

         1.     Upon entry of this Order, Claim No. 1182 shall be deemed withdrawn by Jeffery

 Hoops and Jeffery Hoops does and shall waive all asserted right, title, and interest in and to the

 Registry Funds.

         2.     As soon as is practicable following entry of this Order, the Court shall release and

 disburse the Registry Funds, including all accrued interest (less the registry fee as authorized by

 the Judicial Conference of the United States) to the Trust at 999 17th Street, Suite 700, Denver,

 Colorado 80202, Attn: David J. Beckman.

         3.     The Trust and its claims and noticing agent, Kroll Restructuring Administration

 LLC (f/k/a Prime Clerk), are authorized to take any and all necessary actions to update the claims

 register in these chapter 11 cases and give effect to the terms of this Order.

         4.     Except as otherwise set forth herein, nothing in this Order shall be deemed: (a) an

 admission as to the validity of any proof of claim against a Debtor; (b) a waiver of any party’s

 right to dispute any proof of claim on any ground; (c) a promise or requirement to pay any proof

 of claim; or (d) a waiver of the Trust’s rights under the Bankruptcy Code or any other applicable

 law.




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         5.      For the avoidance of doubt, nothing in this Order shall be deemed to enhance,

 affect, impair, or otherwise prejudice any rights, claims, or defenses between the Parties except as

 set forth herein.

         6.      The provisions of this Order are non-severable and mutually dependent.

         7.      Notwithstanding the possible applicability of Rules 4001(a)(3), 6004(h), 7062, or

 9014 of the Federal Rules of Bankruptcy Procedure, or otherwise, this Order shall be immediately

 effective and enforceable upon its entry.

         8.      This Court retains exclusive jurisdiction with respect to all matters related to the

 implementation, interpretation, and enforcement of this Order.




                                      [Signature Page Follows]




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  Associates, PLLC, and Jeremy Hoops
